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 4   Attorney for:
     MAISHA JONES
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     ) CASE NO. CR. S-08-0145 FCD
                                   )
11                  Plaintiff,     ) STIPULATION AND ORDER CONTINUING
                                   ) SENTENCING HEARING
12        v.                       )
                                   )
13   MAISHA JONES,                 ) DATE:   July 13, 2009
                                   ) TIME:   10:00 a.m.
14                  Defendant.     ) COURT: Hon. Frank C. Damrell, Jr.
     ______________________________)
15
16                                  Stipulation
17        The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for July 13, 2009, may be
19   continued to July 27, 2009, at 10:00 a.m.
20        On June 17, 2009, Scott N. Cameron, the attorney for MAISHA
21   JONES, delivered an informal objection to the Probation Officer
22   contesting the calculation of the amount of loss.         The Probation
23   Officer is presently attending work-related training, out-of-state,
24   and will not return from training until June 26, 2009.          The final
25   presentence report is due June 29, 2009.       Defense counsel would like
26   an opportunity to discuss the matter with the Probation Officer and
27   to review the discovery with him on this issue.        Three days is not
28   sufficient to accomplish informal resolution of this matter.          The

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 1   government has no objection to allowing the defense adequate time to
 2   review the matter with the Probation Officer.            Accordingly, the
 3   parties stipulate that the sentencing hearing currently set for July
 4   13, 2009 be vacated and reset for July 27, 2009, at 10:00 a.m..
 5        It is further stipulated that the date for the Pre-Sentence
 6   Report to be filed with the court may be extended to July 13, 2009,
 7   and the date for a Motion for Correction of the Pre-Sentence Report
 8   to be served and filed may be extended to July 20, 2009.
 9        The prosecutor has authorized defense counsel to sign this
10   stipulation on his behalf.
11   DATED: June 22, 2009             LAWRENCE G. BROWN
                                      Acting United States Attorney
12
13                              by    /s/ Scott Cameron for
                                      Russell Carlberg
14                                    Assistant U.S. Attorney
15   DATED: June 22, 2009
                                by    /s/ Scott N. Cameron
16                                    Scott N. Cameron
                                      Counsel for Maisha Jones
17
18                                      ORDER
19        Good cause appearing,
20        The sentencing hearing scheduled for July 13, 2009, is
21   continued to July 27, 2009, at 10:00 a.m.           The date for the Pre-
22   Sentence Report to be filed with the court is extended to July 13,
23   2009, and the date for a Motion for Correction of the Pre-Sentence
24   Report to be served and filed is extended to July 20, 2009.
25        IT IS SO ORDERED.
26   DATED: June 23, 2009
27                                              _______________________________________
                                                FRANK C. DAMRELL, JR.
28                                              UNITED STATES DISTRICT JUDGE

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